       Case 3:24-cv-00546-GPC-BLM Document 8 Filed 03/26/24 PageID.311 Page 1 of 2
                                          United States District Court
                                           SOUTHERN DISTRICT OF CALIFORNIA

           RUSSELL STEPHEN,                                                    Case No. 3:24-cv-00546-GPC-BLM
                                                         Plaintiff,
                                                  V.                     PRO HAC VICE APPLICATION
       NUTRA HOLDINGS, INC., et al.                    Defendant.                Amazon.com, Inc.
                                                                              Party Represented

I,         Jennifer J. Nagle                                   hereby petition the above entitled court to permit me
                            (Applicant)

to appear and participate in this case and in support of petition state:
        My firm name: ------------------------------
                             K&L Gates LLP
        Street address:      1 Congress Street, Suite 2900
            City, State, ZIP: ------------------------------
                                 Boston, MA 02114
                                 (617) 951-9197
            Phone number: ------------------------------
            Email:             jennifer.nagle@klgates.com
            That on -------
                    November 29, 2007 I was admitted to practice before the Massachusetts Supreme Judicial Court
                                                                       -------------
                             (Date)                                                                     (Name ofCourt)

            and am currently in good standing and eligible to practice in said court,
            that I am not currently suspended or disbarred in any other court, and
            that I D have) D have not) concurrently or within the year preceding this application made
            any pro hac vice application to this court.
                                      (If previous application made, complete the following)
Title of case ----------------------------------
Case Number ------------------ Date of Application -------
Application:        D Granted           D Denied
            I declare under penalty of perjury that the foregoing is true and correct.
                                                                                /s/ Jennifer J. Nagle
                                                                                              (Signature ofApplicant)

                                        DESIGNATION OF LOCAL COUNSEL
I hereby designate the below named as associate local counsel.
 Kevin S. Asfour                                                                (310) 552-5000
(Name)                                                                        (Telephone)

     K&L Gates LLP
(Firm)

 10100 Santa Monica Boulevard, Eighth Floor, Los Angeles, CA 90067
(Street)                                                                     (City)                                      (Zip code)

                                                                                /s/ Jennifer J. Nagle
                                                                              (Signature ofApplicant)

I hereby consent to the above designation.                                       /s/ Kevin S. Asfour
                                                                              (Signature ofDesignee Attorney)
   Case 3:24-cv-00546-GPC-BLM Document 8 Filed 03/26/24 PageID.312 Page 2 of 2

Pro Hae Vice (For this one particular occasion)

An attorney who is not a member of the California State Bar, but who is a member in good standing of,
and eligible to practice before, the bar of any United States court or of the highest court of any State or
of any Territory or Insular possession of the United States, who is of good moral character, and who has
been retained to appear in this Court, be permitted to appear and participate in a particular case. An
attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
is regularly engaged in business, professional, or other activities in California.

The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury
(1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
and the date of admission, he/she is in good standing and eligible to practice in said court,
(4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
concurrently or within the year preceding his/her current application made any pro hac vice application
to this court, the title and the case number of each matter wherein he made application, the date of
application, and whether or not his/her application was gran ted. He/She shall also designate in his
application a member of the bar of this Court with whom the Court and opposing counsel may readily
communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
file with such application the address, telephone number and written consent of such designee.

Fee: $213.00

If application and fee require submission via U.S. Mail, please contact:

                                                      CASD Attorney Admissions Clerk
                                                      (619) 557-5329
